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Gn) HRW: USAO 2018R00297

IN THE UNITED STATES DISTRICT COURT «.
FOR THE DISTRICT OF MARYLAND

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UNITED STATES OF AMERICA . stl
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; * CRIMINAL NO.
. : Bazar Rds
KAMLESH CHAUHAN, - (Abusive Sexual Contact, 18 U.S.C.
. § 2244(b); Forfeiture, 18 U.S.C.
Defendant - § 2253(a), 21 U.S.C. § 853,
28 U.S.C. § 2461(c))
*
KREEKEEE
INDICTMENT

COUNT ONE THROUGH COUNT THREE
(Abusive Sexual Contact)

The Grand Jury for the District of Maryland charges that:
On or about the dates listed below, on lands within the special maritime and territorial
jurisdiction of the United States, in the District of Maryland, the defendant,
KAMLESH CHAUHAN,

knowingly engaged in sexual contact with Victim A without the permission of Victim A:

Count Date
Count One October 6, 2016
Count Two October 12, 2016

Count Three March 30, 2018

18 U.S.C. § 2244(b)
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FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

1. Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendant that the
United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C. § 2253 in
the event of the defendant’s convictions under Count One through Count Three of this

Indictment.

2. As a result of the offenses set forth in Count One through Count Three of this
Indictment, the defendant,
KAMLESH CHAUHAN,
shall forfeit to the United States: (1) any property, real or personal, constituting or traceable to
gross profits or other proceeds obtained from such offense; and (2) any property, real or
personal, used or intended to be used to commit or to promote the commission of such offense or

any property traceable to such property.

Substitute Assets
2. If, as a result of any act or omission of the defendant, any such property subject to
forfeiture:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
C. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be subdivided
without difficulty,
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the United States shall be entitled to forfeiture of substitute property pursuant to 21 U.S.C.

§ 853(p).

18 U.S.C. § 2253(a)
21 U.S.C. § 853
28 U.S.C. § 2461(c)

Robert K. Hur Nx)

United States Attorney

A TRUE BILL:

_ SIGNATURE REDACTED
Bgreeron

Date: April 18, 2018

